




















COURT OF APPEALS

EIGHTH DISTRICT OF
TEXAS

EL PASO, TEXAS

&nbsp;

&nbsp;


 
  
  &nbsp;
  QUOC C. TRINH, INDIVIDUALLY
  AND D/B/A SMART TOYS,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
  Appellant,
  &nbsp;
  v.
  &nbsp;
  ADOLPH CAMPERO, INDIVIDUALLY
  AND CAMPERO &amp; BECERRA P.C.,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
  Appellee.
  
  
  &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp; '
  &nbsp;&nbsp; &nbsp;
  &nbsp;'
  
  &nbsp;
  
  
  &nbsp;
  &nbsp;
  No.
  08-10-00190-CV
  &nbsp;
  Appeal from the
  &nbsp;
  49th
  Judicial District Court
  &nbsp;
  of Webb
  County, Texas
  &nbsp;
  (TC#2008CVQ001532D1)
  &nbsp;
  
 


&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
P I N I O N

Appellant, Quoc C. Trinh, individually
and d/b/a Smart Toys (Trinh), appeals the granting of a summary judgment in
favor of Appellee, Adolph Campero, individually and Campero &amp; Becerra, P.C.,
(Campero).&nbsp; We
affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FACTUAL &amp; PROCEDURAL BACKGROUND

Campero is an attorney who represented Trinh
in a commercial transaction suit.&nbsp; Judgment
in the commercial transaction suit was entered against Trinh and on September
29, 2008, Trinh filed suit against Campero for legal malpractice.&nbsp; Specifically, Trinh brought causes of action
for negligence, breach of fiduciary duty, and breach of contract.

Campero filed a general denial on October
20, 2008.&nbsp; In August 2009, pursuant to
Texas Rules of Civil Procedure 194 and 195, the trial court entered a Pre-Trial
Guideline Order setting December 1, 2009, as the deadline for Trinh to
designate testifying experts.&nbsp; On December
18, 2009, Campero moved for a no-evidence summary judgment.&nbsp; On January 29, 2010, Trinh filed a response
to the motion and attached a supporting affidavit from attorney Elizabeth
Higginbotham.&nbsp; &nbsp;In addition to the response, Trinh filed a designation
of expert witnesses that identified Higginbotham as an expert witness.

On February 5, 2010, the day of the summary
judgment hearing, Campero filed objections to Trinh’s expert.&nbsp; The written objection challenged “any expert
and/or evidence from any expert or purported expert filed after the deadline to
designate experts,” and “any evidence from any expert and/or purported expert
in support of Plaintiff’s Response to No Evidence Motion for Summary Judgment.”&nbsp; The record does not reflect that the trial
court made a ruling on the objection to Trinh’s expert.&nbsp; On February 8, 2010, the trial court granted the
no-evidence summary judgment without specifying the basis for its ruling.&nbsp; This appeal followed.

DISCUSSION

Standard of Review

We review a trial
court’s summary judgment de novo.[1] &nbsp;Mann Frankfort Stein &amp; Lipp 

&nbsp;

Advisors,
Inc. v. Fielding, 289 S.W.3d 844, 848 (Tex. 2009).&nbsp;
When a summary judgment fails to specify the grounds that the
trial court relied upon for its ruling, we may affirm the judgment if any of
the grounds advanced is meritorious.&nbsp; Carr
v. Brasher, 776 S.W.2d 567, 569 (Tex. 1989); Prize Energy Resources,
L.P. v. Cliff Hoskins, Inc., 345 S.W.3d 537, 556 (Tex. App. – San Antonio 2011, no pet.).

“[A] party . . . may move for summary judgment on the ground
that there is no evidence of one or more essential elements of a claim . . . on
which an adverse party would have the burden of proof at trial.”&nbsp; Tex.
R. Civ. P. 166a(i).&nbsp; Such a motion
“must state the elements as to which there is no evidence.”&nbsp; Id.&nbsp; This rule “does not authorize conclusory
motions or general no-evidence challenges to an opponent’s case.”&nbsp; Id. 1997
cmt.&nbsp; Instead, “[t]he motion must be
specific in challenging the evidentiary support for an element of a claim . . .
.” &nbsp;Id.

A no-evidence motion for summary judgment is essentially a
pretrial motion for directed verdict.&nbsp; Tex. R. Civ. P. 166a(i); Timpte
Industries, Inc. v. Gish, 286 S.W.3d 306, 310 (Tex. 2009).&nbsp; Accordingly, we review the evidence presented in the
light most favorable to the nonmovant, indulging every reasonable inference and
resolving any doubts against the motion.&nbsp;
Yancy v. United Surgical Partners
Int’l, Inc. 236 S.W.3d 778, 782 (Tex. 2007); City of Keller v. Wilson, 168 S.W.3d 802, 824-25 (Tex. 2005).&nbsp; A movant for a no-evidence summary judgment
must state which essential elements are without any evidentiary support.&nbsp; Aguilar
v. Morales, 162 S.W.3d 825, 834 (Tex. App. – El Paso 2005, pet. denied).

The non-movant must then produce evidence raising a genuine
issue of material fact on each challenged element.&nbsp; Tex.
R. Civ. P. 166a(i); Aguilar,
162 S.W.3d at 834.&nbsp; When the
nonmovant presents more than a scintilla of probative evidence that raises a
genuine issue of material fact, a no-evidence summary judgment is
improper.&nbsp; Smith v. O’Donnell, 288
S.W.3d 417, 424 (Tex. 2009).&nbsp; More than a scintilla of
evidence exists when the evidence would permit reasonable and fair-minded
people to differ in their conclusions.&nbsp; King
Ranch, Inc. v. Chapman, 118
S.W.3d 742, 751 (Tex. 2003).

The No-Evidence
Motion for Summary Judgment

In a single issue,
Trinh contends that the trial court committed reversible error in
granting Campero’s no-evidence summary judgment because he produced more than a
scintilla of evidence in the form of an expert affidavit, raising genuine
issues of material fact for his claims of negligence, breach of fiduciary duty,
and breach of contract.&nbsp; Trinh also argues
that because the trial court did not rule on Campero’s objection to the summary
judgment evidence or strike the expert affidavit, Campero’s objection has not
been preserved for review and as such he has presented more than a scintilla of
evidence to defeat Campero’s no-evidence motion for summary judgment.&nbsp; On appeal, all that remains are Trinh’s negligence
and breach of fiduciary duty claims.[2]&nbsp; We first address Trinh’s waiver argument.

Campero’s Objections to Trinh’s Summary
Judgment Evidence

The trial court set December 1, 2009 as the
deadline for Trinh’s disclosure of testifying experts.&nbsp; Trinh filed his response with Higginbotham’s
affidavit and designation of expert witness more than a month after that
deadline.&nbsp; Campero objected to the
affidavit because the expert witness was untimely designated.&nbsp; The trial court did not rule on Campero’s
objection.

Campero argues that Fort Brown Villas III Condominium Ass’n v. Gillenwater, 285 S.W.3d
879, 880 (Tex. 2009) (per curiam) (holding that Rule 193.6 dealing with the
exclusion of expert evidence, apply in equally in trial and summary judgment
proceedings), requires the automatic exclusion of Trinh’s expert affidavit.&nbsp;&nbsp; We disagree.&nbsp;
The procedural facts in Gillenwater
are distinguishable from the procedural facts in the case before us.&nbsp; In Gillenwater, unlike the present case before us, the
trial court specifically ruled upon and sustained the objections that the
expert affidavit was not timely disclosed under the scheduling order, and
excluded the affidavit evidence.&nbsp; Id. at 881-82.&nbsp; In light of the factual and
procedural differences, we find Gillenwater
inapplicable.

Failure to obtain written rulings on
objections to summary judgment evidence waives the issue, unless the record
contains an implicit ruling by the trial court.&nbsp;
Tex. R. App. P. 33.1(a)(2)(A)
(trial court must either expressly or implicitly rule on an objection in order
for an issue to be preserved for review); Torres
v. GSC Enterprises, Inc., 242 S.W.3d 553, 560 (Tex. App. – El Paso 2007, no
pet.); Strunk v. Belt Line Road Realty
Co., 225 S.W.3d 91, 99 (Tex. App. – El Paso 2005, no pet).&nbsp; In
order for an “implicit” ruling to exist, there must be something in the record reflecting
that the trial court ruled on the objections, other than the mere granting of
the motion for summary judgment.&nbsp; Torres, 242 S.W.3d at 560; Strunk, 225 S.W.3d at 99.&nbsp; Moreover, failure to timely designate a
testifying expert is an error to which a party must object to and obtain a
ruling on in order to preserve error.&nbsp; Trusty v. Strayhorn, 87 S.W.3d 756, 764
(Tex. App. – Texarkana 2002, no pet.).

It is undisputed that Trinh designated
Higginbotham as an expert witness after his deadline for designating expert
witnesses had expired.&nbsp; Although Campero
filed a written objection to Trinh’s untimely designation of Higginbotham as an
expert, the record does not establish that the trial court expressly or
impliedly ruled on his objection to the summary judgment evidence.&nbsp; See Strayhorn,
87 S.W.3d at 764; Mitchell v. Baylor
Univ. Med. Ctr., 109 S.W.3d 838, 842 (Tex. App. – Dallas 2003, no pet.) (if
no order sustaining the objection exists on the record, evidence that has been
objected to will remain part of the summary judgment proof); Well Solutions Inc. v. Stafford, 32
S.W.3d 313, 317 (Tex. App. – San Antonio 2000, no pet.) (a ruling on an
objection to the nonmovant’s summary judgment evidence is not implicit in the
court’s ruling on a motion for summary judgment).&nbsp; Because Campero failed to obtain a ruling on
his written objection to Trinh’s expert, the issue was not preserved for our
review.&nbsp; Tex. R. App. P. 33.1.&nbsp;
Accordingly, we consider Trinh’s expert affidavit in reviewing the trial
court’s judgment.

Genuine Issues of Material Fact

Legal Malpractice

With regard to his negligence claim, Trinh’s
pleadings alleged Campero was negligent in failing to defend Trinh, failing to
inform Trinh of the adverse judgment, failing to set aside the adverse
judgment, failing to file any motion preserving any appellate deadlines, and failing
to appeal the adverse judgment.

The elements of a legal malpractice claim
are that: &nbsp;(1) the attorney owed a duty
to the plaintiff; (2) the attorney breached that duty; (3) the breach
proximately caused the plaintiff’s injuries; and (4) damages occurred.&nbsp; Belt v.
Oppenheimer, Blend, Harrison &amp; Tate, Inc., 192 S.W.3d 780, 783 (Tex.
2006).&nbsp; When a legal malpractice case
stems from prior litigation, a plaintiff must prove that, “but for” the
attorney’s breach of duty, the plaintiff would have prevailed in the underlying
case.&nbsp; Grider v. Mike O’ Brien, P.C., 260 S.W.3d 49, 55 (Tex. App. –
Houston [1st Dist.] 2008, pet. denied), citing
Greathouse v. McConnell, 982 S.W.2d
165, 172 (Tex. App. – Houston [1st Dist.] 1998, pet. denied).&nbsp; This is often referred to as the
“suit-within-a-suit” requirement.&nbsp; Id.&nbsp;
Generally, in a legal malpractice suit-within-a-suit, causation is
proven by expert testimony.&nbsp; Alexander v. Turtur &amp; Assocs., Inc.,
146 S.W.3d 113, 119-20 (Tex. 2004).

Campero’s
no-evidence motion for summary judgment sets forth that Trinh could produce no
evidence of “any of the essential elements of the negligence claim” and
specifically attacks the elements of breach and proximate cause.&nbsp; In response, Trinh offered the affidavit of
attorney Higginbotham as summary judgment evidence.&nbsp; In her affidavit, Higginbotham opined on the
standard of care, the attorney’s conduct which breached that standard, as well
as violations of the State Bar Rules concerning attorney conduct.&nbsp; Higginbotham also made a conclusory opinion
that the failures referenced in the affidavit constituted “blatant legal
malpractice by Campero . . . .”&nbsp; However,
the breach of standard of care and causation are independent inquiries, and an
abundance of evidence as to one cannot substitute for evidence as to the
other.&nbsp; Alexander, 146 S.W.3d at 119.

In
the present case, Trinh was required to provide the causal link between
Campero’s negligence and Trinh’s harm.&nbsp; Alexander, 146 S.W.3d at 119.&nbsp; While Campero contends that he also addressed
the damages element, we note that his no-evidence motion for summary judgment
does not expressly identify damages as a challenged element.&nbsp; Tex. R. Civ. P. 166a(i); Aguilar, 162 S.W.3d at 834 (movant for
summary judgment must identify the elements as to which there is no evidence).

As
to Trinh’s breach of fiduciary duty claim, Campero also asserted in his
no-evidence motion that Trinh could produce no evidence.&nbsp; In particular, he argued that there was no
evidence of breach or that the purported breach resulted in injury to
Trinh.&nbsp; In the expert affidavit, Higginbotham
addressed the issues of duty and breach, but there was no evidence as to
causation or how Trinh was injured as a result of Campero’s breach of fiduciary
duty.

Because
Trinh’s summary judgment evidence failed to address causation, Trinh failed to
raise a fact issue as to that element in both his negligence and legal
malpractice claims.&nbsp; Therefore, we hold
the trial court did not err in granting Campero’s no-evidence motion summary
judgment.&nbsp; See Rust v. Texas Farmers Ins. Co., 341 S.W.3d 541, 550 (Tex. App. – El Paso 2011, pet. denied)
(motion for summary judgment must be granted if the non-movant fails to produce
evidence that raises a genuine issue of material fact).&nbsp; Issue One is
overruled.

CONCLUSION

We
affirm the trial court’s judgment.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; GUADALUPE
RIVERA, Justice

July 11, 2012

&nbsp;

Before McClure, C.J., Rivera, J., and Antcliff, J.











[1]
This case was transferred from out sister court in San Antonio.&nbsp; Therefore we decide this case in accordance
with the precedent of that court.&nbsp; Tex. R. App. P. 41.3.





[2]&nbsp; Generally, Texas courts do not allow
negligence claims to be fractured into claims for fraud, breach of contract,
breach of fiduciary duty, or DTPA violations because the real question is
whether the attorney acted with the diligence required under the standard of
care.&nbsp; Kimleco Petroleum, Inc. v. Morrison &amp; Shelton, 91 S.W.3d 921,
924 (Tex. App. – Fort Worth 2002, pet. denied), citing Averitt v. PriceWaterhouseCoopers, L.L.P., 89 S.W.3d 330,
333 (Tex. App. – Fort Worth 2002, no pet.).&nbsp;
The rule seeks to prevent legal-malpractice plaintiffs from turning a
claim that sounds only in negligence into other claims.&nbsp; See
Deutsch v. Hoover, Bax &amp; Slovacek, L.L.P., 97 S.W.3d 179, 189 (Tex.
App. – Houston [14th Dist.] 2002, no pet.).&nbsp;
Here, Trinh relies on the same actions for both his breach of contract
claim and negligence claim.







